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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
In re: Case No.: 23-11557-LMI
Iris Slotkin, Chapter 13° i

Debtor.
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NOTICE OF FILING OF RETAINER AGREEMENT

COMES NOW the Debtor, Iris Slotkin, through her undersigned counsel and files this copy

of the Attorney-Client/Debtor Retainer Agreement.

Respectfully submitted,

By jul

FREIRE & Ula LEZ, P.A.
ne for Debtor(s)
Edward Freire, Esq. FBN: 0813771

aila S. Gonzalez, Esq. FBN: 0975291
10691 N. Kendall Dr., Suite 207
Miami, FL 33176
Tel: (305) 826-1774
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FREIRE & GONZALEZ, P.A.

ATTORNEY-CLIENT/DEBTOR(S) CHAPTER-13 RETAINER AGREEMENT

Debtor(s) hereby retain Freire & Gonzalez, P.A., Attorney’s at Law, to represent him/her/them in a Chapter-13 Bankruptcy.
Compensation
The compensation paid or promised by the Debtor(s), to Freire & Gonzalez, P.A., is as follows:

1) Prior to the filing of the Bankruptcy, Debtor(s) will pay for legal services

rendered, or to be rendered, in contemplation of and in connection .
with his/her/their case and must obtain Credit Counseling $ l, SO O “CO

2) After the filing of the Bankruptcy, Debtor(s) will pay, as part of his/her/
their Chapter-13 plan, for legal services rendered, or to be rendered in

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connection with his/her/their case for up to 6.9 hours of legal work

3) Prior to the filing of the Bankruptcy, Debtor(s) will pay the Court's Filing
Fee Via a Money Order or Cashier's Check ONLY made payable

to “American Express.” $ 3 { 3 (OO
5) Other Costs: $30 Court Filing Amendment Fee & $40 Creditor Report —$ 4 O “OO:
TOTAL FEE & COSTS $ S, 002.900
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Note: Credit Counseling and Debtor Education is to be paid directly by the Debtor(s) to the
Credit Counseling Service Agency. The Intrerpreter, if needed, is to be paid directly by the
Debtor(s) at Court. Court Costs, Filing Fees and Interpreter fees are subject to change
without notice and are beyond our control. All other fees are subject to change after a
year.

i hereby authorize Freire & Gonzalez, P.A. to use Accurint in order to obtain my Comprehensive Report.

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Services

The Services rendered or to be rendered include the following (up to 6.9 hrs. of legal work):

1) Verification of Debtor(s) identity, social security number and eligibility for Chapter 13;

2) Timely preparation and filing of petition, schedules, statement of financial affairs, Chapter
13 plan, all amendments and all required documents pursuant to the Bankruptcy Code,
and Bankruptcy and Local Rules;

3) Service of Copies of all filed plans to all creditors and interested parties;

4) Explanation to debtor(s) regarding all debtor(s) responsibilities, including, but not limited to
payments and attendance at the §341 Meeting of Creditors:

5) Preparation for and attendance at the initially scheduled §341 Meeting of Creditors:

6) Preparation of and attendance at all necessary pre-confirmation motions brought on
behaif of Debtor(s);

7) Timely review of all proofs of claim in accordance with Local Rule 2083-1 (B);
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8) Timely objection to all improper or invalid proofs of claim in accordance with Local
Rule 2083-1(B) ;
9) Preparation for and attendance at all confirmation hearings;
10) Attendance at and defense of all motions against debtors until discharge, conversion, or
dismissal of the case;
11) Preparation, filing, and service of notices of conversions or voluntary dismissals;

This retainer DOES NOT cover the services of Freire & Gonzalez, P.A., in handling:

1) Litigation respecting exemptions, discharge, or dischargeability of particular debts;
2) Attendance at 2004 Examination (Depositions);
3) 522(f) Motions (Removal of Judgement Liens);
4) Reaffirmation Agreements ‘
5) Audits or any other non-routine matter.

6) Attendance at or request for continuations of the initial 341 Meeting of Creditors

If additional hearings or additional legal work is necessary, 1/We agree, subject to Court approval, to pay an additional

fee of six hundred and fifty ($650.00) dollars per hour and three hundred and fifty ($350.00) dollars per hour, if the associate
performs the additional services. I/We understand that my/our attorney's will utilize secretaries/paralegals to assist in the work
required for my case and that Freire & Gonzalez, P.A. will charge a reduced hourly rate of one hundred twenty fiive ($125.00) for
said services.

Additional Court Costs and Compensation

Additional Court Costs will be charged under the following circumstances (via money order made payable to "American Express"):

1) Amendments adding creditors;
2) Any other Court required fee;

Additional Compensation (Attorney's Fees) will be charged for any additional service not outlined above, including
but not limited to:

1) Modification of Chapter-13 Payment Plan;

2) Motions to Vacate Dismissal, (If case is Dismissed due to Debtor(s) failure ta timely
comply with document request, request for signature on Amendments, or timely make
payments in accordance with the current Chapter-13 plan);

3) Motions to Sell, Motions to Refinance, or Motions to Purchase Real or Personal Property;

4) Any legal work exceeding 6.9 hours; and/or

5) Conversion of Case to a Chapter 7.

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6) Requests for Continuations or Rescheduling of the 341 Meeting of Creditors

In the event the case is Dismissed prior to Confirmation, Debtor(s) agree that the funds being held by the Trustee
can and will be used to pay any outstanding attorney fees pursuant to this Retainer Agreement, without the necessity
of court approval or hearing.

By signing this retainer agreement Debtor(s) authorize, Freire & Gonzalez, P.A., to sign any Payment Plans, Amended
or Modified Payment Plans. Payment Plans may need to be amended or modified for reasons including but not
limited to Proof of Claims, Amendments to Proof of Claims or the client falling behind in the Payment Plan.
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Miscellaneous Fees

1) Debtor(s) will be charged $50.00 for any check returned for insufficient funds, closed
accounts or uncollected funds, along with any incurred bank charges

2) Any facsimile received when has more than ten (10) pages will be charged an
additional $1.00 per page.

3) Debtor(s) will be charged $0.15 per page for any copies or pages that need to be printed
by our office.

4) Debtor(s) will be charged an additional $1,000.00 in attorney's fees for cases that require
quick to immediate filing and cannot be filed in the normal course.

Sale Date

if filing to stop the sale of real estate, I/We agree and understand that all necessary documents and papers must be provided to
Freire & Gonzalez, P.A., two (2) weeks prior to the scheduled sale of the real estate in order to ensure that the sale is cancelled.
We agree and understand that filing a case three (3) days or less prior to the sale of the real estate does not guarantee that the
sale will be cancelled.

In the event that the case is not filed with the bankruptcy court within 30 days after the case was opened with
our office, the attorneys fees are subject to change.

Although, Freire & Gonzalez, P.A. does not anticipate having other attorneys cover hearings | authorize an
appearance attorney to represent me in the instant bankruptcy.

YOUR FILE WILL BE DISCARDED 6 MONTHS AFTER THE CASE IS DISMISSED OR DISCHARGED.

CLIENT(S) AFFIRM THAT ATTORNEY HAS INFORMED HIM/HER/THEM THAT ANY MONEY PAID TO FREIRE & GONZALEZ
P.A., AS PART OF THIS RETAINER AGREEMENT IS NOT REFUNDABLE.

1) Your signature on this contract shall be authorization for attorneys to file a bankruptcy
petition for Client via the Bankruptcy Court’s Electronic Case Filing System and all other
subsequent court filings through the Bankruptcy Court's Electronic Case Filing System.
Client agrees that attorneys can provide copies of documents regarding Your bankruptcy
case to You by either the United States mail or electronic mail as You request below. You
agree and understand that the request to change the designation for preferred method of
sending you documents must be submitted in writing.

2) In the event that your Chapter 13 case is dismissed or converted to another chapter, you
grant us a limited power of attorney to apply funds on hand with the Chapter 13 Trustee
that would otherwise be forwarded to you or others towards the balance on the Chapter 13
fee, if any, and/or the Chapter 7 fee, if applicable, by granting us the right to endorse your
name(s) upon checks from the trustee. We shall give you an accounting of all funds so
applied.

3) | agree and understand that it is my responsibility to provide attorneys with a correct and
current United States mailing address as well as current email addresses anid phone
numbers for us at all times during the bankruptcy case.

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Date | Client/Debtor's Signature

Date Client/Co-Debtor's Signature
